           Case 2:11-cr-00323-JAM Document 113 Filed 02/26/13 Page 1 of 2


1    DINA L. SANTOS, Bar #204200
     A Professional Law Corporation
2    428 J Street, 3rd Floor
     Sacramento, California 95814
3    Telephone: (916) 447-0160
4
5    Attorney for Defendant
     WILLIAM BOHAC
6
7                        IN THE UNITED STATES DISTRICT COURT
8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
11   UNITED STATES OF AMERICA,           ) No. CR-S 11-323 JAM
                                         )
12                    Plaintiff,         )
                                         ) STIPULATION AND ORDER MODIFYING
13        v.                             ) CONDITIONS OF RELEASE (Amended)
                                         )
14                                       )
     WILLIAM BOHAC,                      )
15                                       )
                                         )
16                    Defendants.        )
17   _______________________________
18        IT IS HEREBY STIPULATED by and between Assistant United States
19   Attorney Jared Dolan, Counsel for Plaintiff, and Attorney Dina L.
20   Santos, Counsel for Defendant William Bohac that the bond securing Mr.
21   Bohac’s release be secured only by his primary residence located at
22   8933 Matthews Lane, Marysville, CA 95901.        The total amount of the Bond
23   will now be $120,000.    The property located at 4688 Foothill Blvd,
24   Oroville, CA 95966 is hereby released to Ms. Barbara Fisher.
25        Ms. Fisher is having financial difficulties that require her to
26   sell her property located at 4688 Foothill Blvd, Oroville, CA 95966.
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           Case 2:11-cr-00323-JAM Document 113 Filed 02/26/13 Page 2 of 2


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2         The Court is advised that all counsel and Pretrial Services have
3    conferred about this request, that they have agreed to amend the
4    property bond amount and release the property located at 4688 Foothill
5    Blvd, Oroville, California; and that Mr. Dolan has authorized Ms.
6    Santos to sign this stipulation on his behalf.
7
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9
10
11        IT IS SO STIPULATED.
12
13   Dated: January 9, 2013                  /S/ Dina L. Santos
                                            DINA L. SANTOS
14                                          Attorney for
                                            William Bohac
15
16
17   Dated: January 9, 2013                  /S/ Jared Dolan
                                            JARED DOLAN
18                                          Assistant United States Attorney
                                            Attorney for Plaintiff
19
20
21
22
                                        O R D E R
23
          IT IS SO ORDERED.
24
                     By the Court,
25
26
     Dated: February 26, 2013               /s/ John A. Mendez
27                                          Hon. John A. Mendez
                                            United States District Court Judge
28
